IN THE UNITED STATES DISTRICT C()URT
FOR THE MIDDLE DISTRICT OF TENNESSEE

DEIDRE JOSEPH, )
)
Plaintiff, )
)
v. ) No.:
)
)
) JURY TRIAL
TENNESSEE CVS PHARMACY, LLC. )
)
Defendant. )
COMPLAINT

Plaintiff, DEIDRE JOSEPH, by and through her attorneys, alleges for her Complaint as

follows:

I. INTRO])UCTION
1. Plaintiff brings this action against TENNESSEE CVS PHARMACY, LLC, for legal
relief to redress unlawful Violations of Plaintiff’s rights under the Farnily Medical Leave Act
(“FMLA” or “the Act”), 29 U.S.C. §§ 2601, et seq.

` II. THE PARTIES

A. 'I`HE PLAINTIFF
2. Plaintiff currently resides in Mount Juliet, Tennessee and is a citizen of the United States.
3. Plaintiff is an FMLA “eligible employee”, specifically under 29 U.S.C. Section

2611(2)(A), because she Worked more than a year in Which she Worked in excess of 1,250 hours.

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B. THE DEFENDANT
4. Defendant is located Within the l\/liddle District of Tennessee and is an employer within
the provisions of the FMLA, specifically under 29 U.S.C. Section 2611(4)(A).
5. At all times material to this action, Defendant has been engaged in commerce as defined
by § 2611(1) ofthe FMLA.
6. The Defendant is bound by the rules and regulations of the Family and Medical Leave
Act.
III. JURISDICTION AND VENUE
7. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331
(federal question jurisdiction).
8. Venue is proper in the Middle District of` Tennessee under 28 U.S.C. §1391(b)-(c)
because Defendant employed Piaintiff in its store in Brentwood, Tennessee (Williarnson
County).
Iv. FACTS
9. Defendant employed Plaintiff at its location in Brentwood, Tennessee on Franklin Road.
10. On or about December 14, 2010, Plaintiff sustained a “serious health condition” in the
form of a severely broken hand due to a dog bite.
11. Plaintiff informed Defendant of` her medical condition, her hospitalization, her need for
leave from work and her need for “interrnittent” leave for physical therapy.
12. Defendant approved the FMLA leave from December 15 through February 17, 2011,
advising Plaintiff of this in a February 11, 2011 letter.
13. Plaintif`f"s physician released her to return to work on February 15, 2011, with the

provision that She must continue to attend physical therapy for her hand.

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14. Piaintiff advised her supervisor that she needed “intermitten ” leave for the physical
therapy appointments

15. In response, Plaintiff’s supervisor advised Plaintif`r` that “we don’t do intermittent leave”
and that “you must return with no restrictions full duty.”

16. Plaintif`f` explained that she could not forego physical therapy and that she was under
doctor’s orders to continue it.

17. In response, Plaintiff"s supervisor instructed her to just stay off work and to bring in her
doctor’s notes.

18. On February 23, 2011, Plaintiff met with her supervisor to restate her readiness to return
to work with intermittent leave. Plaintiff was no longer drawing short term disability and was
ready to return.

19. Plaintifi"s supervisor informed Plaintiff` on February 23, 2011 that she did not need to
bring any more notes because she Was terminated for “job elimination.”

20. On or about March 14, 2011, Defendant’s leave department advised Plaintiff in writing--
in contrast to her supervisor_that she was approved for a ieave of absence from February 18,
2011 to April 19, 2011.

21. Plaintif`f` then spoke to the leave department It told Plaintiff that her job was not
eliminated and that she had not been terminated

22. So, Plaintiff again requested to return to work and asked why she was getting such
inaccurate and conflicting information-confusing and misleading to the point of clear FMLA
“interference” f`or refusing to restore her to work with intermittent leave.

23. On or about Aprii 7, 2011, Defendant reversed course again, stating that Plaintiff had

been terminated through a “job elimination.” This termination damaged Plaintif`f by costing her

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all wages and benefits of her employment The termination being “willful,” she seek liquidated
damages. She also seeks costs and reasonable attorneys fees.

V. COUNT ONE
24. Plaintiff repeats and incorporates by reference the allegations contained in Paragraphs i-
23 herein. By its actions alleged herein, Defendant violated the provisions of Section 2615(a)(l)
of the FMLA by interfering with, restraining and/or denying Plaintiff the exercise of or the
attempt to exercise her rights under the FLMA, to wit, misleading Plaintiff about her return to
work date and refusing to restore Plaintiff’ s job.

VI. COUNT TWO
25. Plaintiff repeats and incorporates by reference the allegations contained in Paragraphs 1-
23 herein. By its actions alleged herein, Defendant violated the provisions of Section 2615(a)(2)
of the FMLA by discharging and/or unlawfully discriminating against the Plaintiff for exercising
her rights under the FMLA, to wit, requesting a return to work with intermittent leave for
physical therapy appointments l

VIII. PRAYER FOR RELIEF

26. WHEREFORE, the Plaintiff prays for the following relief:

A. That proper process issue along with a copy of this complaint requiring the
Defendant to appear and answer;

B. That Plaintiff be awarded damages in the amount of any wages, salary,
employment benefits or other compensation, including, but not limited to back pay and front pay
(or reinstatement), plus an equal amounth liquidated damages and/or prejudgment interest;

C. Any actual monetary loss sustained by the Plaintiff, plus an equal amount of

liquidated damages and/or prejudgment interest;

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D. Reasonable attomeys’ fees;
E. The costs and expenses of this action;

F. Such other legal and equitable relief to which Plaintiff may be entitled; and

G. Plaintiff further demands a Jury to try this cause.

Respectfully submitted,

GILBERT RUSSELL McWI-IERTER, PLC

s/Justin S. Gilbert

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